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                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION



JANE DOE,                                      §
     Plaintiff,                                §
                                               §
v.                                             §
                                               §
BAYLOR UNIVERSITY                              §           Civil Action No. 6:17-CV-00125-RP
    Defendant.                                 §


                         AGREED STIPULATION OF DISMISSAL


TO THE HONORABLE JUDGE OF THE COURT:


       It is hereby stipulated by and between the parties to this action through their designated

counsel that the above-captioned action be and hereby is DISMISSED WITH PREJUDICE

pursuant to Federal Rule of Civil Procedure 41(a)(1). Each party shall bear her or its own costs,

attorneys' fees, and expenses.

                                            Respectfully submitted,

                                            ABRAHAM, WATKINS, NICHOLS,
                                            SORRELS, AGOSTO & AZIZ

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